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 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-06-441-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RICARDO VENEGAS,                                )
                                                     )
13
                                                     )       Date: April 26, 2013
             Defendant.                              )       Time: 9:00 a.m.
14
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Ricardo Venegas, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on March 15, 2013.
22
          2. By this stipulation, defendant now moves to continue the status conference until April 26,
23
     2013 and to exclude time between March 15, 2013 and April 26, 2013 under the Local CodeT-4
24

25   (to allow defense counsel time to prepare).

26        3. The parties agree and stipulate, and request the Court find the following:
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             a. Counsel for the defendant needs additional time to review the discovery, conduct
28
                 investigation, and interview potential witnesses.

                                                         1
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     b. This court has approved funding for Dayle Carlson, sentencing expert. Mr. Carlson is
 1

 2      reviewing the discovery; indictment; proposed plea agreement; meeting with counsel

 3      and Mr. Venegas to discuss potential mitigation issues. Counsel for Mr. Venegas has,
 4
        additionally, filed (via separate motion) a stipulation requesting USPO prepare a full
 5
        pre-plea PSR. USPO recently produced the full pre-plea PSR and the Parties need
 6

 7
        time to review the information and recommendations contained therein.

 8   c. Counsel for the defendant believes the failure to grant a continuance in this case
 9      would deny defense counsel reasonable time necessary for effective preparation,
10
        taking into account the exercise of due diligence.
11
     d. The Government does not object to the continuance.
12

13   e. Based on the above-stated findings, the ends of justice served by granting the

14      requested continuance outweigh the best interests of the public and the defendant in a
15
        speedy trial within the original date prescribed by the Speedy Trial Act.
16
     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
17
        Section 3161(h)(7)(A) within which trial must commence, the time period of March
18

19      15, 2013 to April 26, 2013, inclusive, is deemed excludable pursuant to 18 United

20      States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
21
        Code T-4 because it results from a continuance granted by the Court at defendant’s
22
        request on the basis of the Court’s finding that the ends of justice served by taking
23
        such action outweigh the best interest of the public and the defendant in a speedy
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25      trial.

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                           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2   Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3   a trial must commence.
 4
                           IT IS SO STIPULATED.
 5
     Dated: March 11, 2013                                                           /s/ John R. Manning
 6                                                                                  JOHN R. MANNING
 7
                                                                                    Attorney for Defendant
                                                                                    Ricardon Venegas
 8

 9   Dated: March 11, 2013                                                          Benjamin B. Wagner
10
                                                                                    United States Attorney

11                                                                          by:     /s/ Jill Thomas
                                                                                    JILL THOMAS
12
                                                                                    Assistant U.S. Attorney
13

14

15                                                                  ORDER
16
                              IT IS SO FOUND AND ORDERED.
17
     Date: 3/12/2013
18

19
                                                               ___________________________________
20                                                             GARLAND E. BURRELL, JR.
                                                               Senior United States District Judge
21
     DEAC_Signature-END:




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     61khh4bb
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